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       12.    DYMO AB, Esselte Holdings, Inc. and Esselte BVBA (collectively, “the

Companies”) were in the business of designing, developing, manufacturing, distributing,

servicing, selling, marketing and supplying labeling printers, label makers, label embossers and

related consumables.

       13.    On July 28, 2005, Newell on behalf of itself and its affiliates entered into a Stock

Purchase Agreement (“SPA”) with Esselte AB and purchased the Companies -- DYMO AB,

Esselte Holdings, Inc. and Esselte BVBA -- for approximately $730 million. Esselte BVBA was

an earlier name of Plaintiff DYMO.

       14.    The Companies, as well as Esselte Corporation and DYMO Corporation, owned

various intellectual property that, pursuant to the SPA, was to be assigned and transferred in

connection with the sale of the Companies and their business to Newell.

       15.    U.S. Patent Numbers 5,826,995, 6,152,623, 6,890,113, 7,140,791, and 7,990,567

and/or the patent applications leading thereto were among the patent rights originally owned by

the Companies and thus transferred to the Newell Companies pursuant to the SPA.

       16.    Various employees of the Companies were inventors of the Asserted Patents,

including David Block, who was an inventor of U.S. Patent Number 6,890,113. After the SPA,

Mr. Block and other employees of the Companies, including Philip J. Damiano, Kris

Vandermeulen and Tom De Fruytier remained employed with one or more of the Companies

after Newell purchased the Companies and those Companies became affiliates or divisions of the

Newell Companies.

       17.    Before the SPA was executed in 2005, Mr. Damiano had acted as President of the

DYMO division of Esselte. After the SPA, Newell retained Mr. Damiano as the President and

General Manager of the Newell Companies’ DYMO division until his separation in 2008.



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